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A02458        (Rev. 09/11) Judgment in a Criminal Case
              Sheet I



                                          UNITED STATES DISTRICT COURT                                                    JAN 15 2014
                                                            Eastern District of Arkansas                      ~~E~K
             UNITED STATES OF AMERICA                                     )        JUDGMENT IN A CRIMINAL CASE                                EP CLERK
                                                                          )
                                  v.                                      )
             RODOLFO ARENZANO-JUAREZ                                      )
                                                                          )
                                                                                   Case Number: 4:12CR00279-002 KGB
                                                                          )        USM Number: 27239-009
                                                                          )
                                                                          )        Justin T. Eisele
                                                                                   Defendant's Attorney
THE DEFENDANT:
i¥fpleaded guilty to count(s)        1s
                                    -------------------------------------------------------------------------
0 pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended
 18 u.s.c. § 4                     Misprision of a Felony                                                   9/10/2012                    1s




       The defendant is sentenced as provided in pages 2 through          __6_____ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

D Count(s)                                               Dis      Dare dismissed on the motion of the United States.
               ------------------------
         It is ordered that the defendant must notifY the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notifY the court and United States attorney of material ctianges in economic circumstances.

                                                                              1/7/2014
                                                                          Date oflmposition of Judgment




                                                                              Kristine G. Baker                         U.S. District Judge
                                                                          Name and Title of Judge


                                                                              1/15/2014
                                                                          Date
                             Case 4:12-cr-00279-KGB Document 77 Filed 01/15/14 Page 2 of 6
AO 2458       (Rev. 09/11) Judgment in Criminal Case
              Sheet 2- Imprisonment
                                                                                                     Judgment- Page   --=2- of   6
DEFENDANT: RODOLFO ARENZANO-JUAREZ
CASE NUMBER: 4:12CR00279-002 KGB


                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 Mr. Arenzano-Juarez is sentenced to a term of time served. The Court notes that he has been detained and in custody since
 September 12, 2012.



    0     The court makes the following recommendations to the Bureau of Prisons:




    ~ The defendant is remanded to the custody of the United States Marshal.

    0     The defendant shall surrender to the United States Marshal for this district:

          0     at                                     0 a.m.    0 p.m.      on

          0     as notified by the United States Marshal.

    0     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          0     before 2 p.m. on

          0     as notified by the United States Marshal.

          0     as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                            By
                                                                                               DEPUTY UNITED STATES MARSHAL
                               Case 4:12-cr-00279-KGB Document 77 Filed 01/15/14 Page 3 of 6

AO 2458        (Rev. 09/11) Judgment in a Criminal Case
               Sheet 3 -Supervised Release
                                                                                                            Judgment-Page        3   of         6
DEFENDANT: RODOLFO ARENZANO-JUAREZ
CASE NUMBER: 4:12CR00279-002 KGB
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 1 year

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applzcable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check. if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any Qersons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and

  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
            record or Rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
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AO 2458   (Rev. 09111) Judgment in a Criminal Case
          Sheet 3A- Supervised Release
                                                                                             Judgment-Page          of
DEFENDANT: RODOLFO ARENZANO-JUAREZ
CASE NUMBER: 4:12CR00279-002 KGB

                                    ADDITIONAL SUPERVISED RELEASE TERMS
 If Mr. Arenzano-Juarez is deported, a special condition is imposed where he will not be allowed to return to the United
 States during the period of his supervised release. If he does return, it will be considered a violation of his supervised
 release.
                          Case 4:12-cr-00279-KGB Document 77 Filed 01/15/14 Page 5 of 6
AO 2458   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                   Judgment- Page        5    of         6
DEFENDANT: RODOLFO ARENZANO-JUAREZ
CASE NUMBER: 4: 12CR00279-002 KGB
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                                          Fine                               Restitution
TOTALS            $ 0.00                                              $ 0.00                           $


D The determination of restitution is deferred until          ---
                                                                       . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proQortioned P.ayment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is patd.

 Name of Payee                                                           Total Loss*         Restitution Ordered Priority or Percentage




 TOTALS                              $                         0.00         $ - - - - - - - -0.00
                                                                                              --


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the            D fine    D restitution.
      D the interest requirement for the             D fine    D restitution is modified as follows:


 *Findings for the total amountoflosses are required under Chapters 109A, 110, llOA, and 113A ofTitle 18 for offenses committed on or after
 September 13, 1994, but before April23, 1996.
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AO 2458   (Rev. 09111) Judgment in a Criminal Case
          Sheet SA- Criminal Monetary Penalties
                                                                                      Judgment-Page    6    of     6
DEFENDANT: RODOLFO ARENZANO-JUAREZ
CASE NUMBER: 4:12CR00279-002 KGB

                    ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
 The government requests waiver of the special penalty assessment pursuant to 18 U.S.C. § 3573 as deportation is
 anticipated. The Court granted this request.
